        Case 2:14-cr-00027-DLC Document 178 Filed 04/12/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT                         FILED
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION                                     APR 12 2018
                                                                            Cler!<, l:J.S District Court
                                                                               District Of Montana
                                                                                      Missoula



  UNITED STATES OF AMERICA,
                                                    CR 14-27-BU-DLC
                       Plaintiff,

        vs.                                          ORDER

  CANADADRUGS.COM LTD.
  PARTNERSHIP, ROCKLEY
  VENTURES LTD., and RIVER EAST
  SUPPLIES LTD.,

                       Defendants.

      WHEREAS, the United States has filed a Motion for Final Order of

Forfeiture (Doc. 177), which would consist of a personal money judgment against

the Defendants in the amount of $29,000,000.00, and

      WHEREAS, Rule 32.2(c )(1) provides that "no ancillary proceeding is

required to the extent that the forfeiture consists of a money judgment,"

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the

Defendants shall forfeit to the United States the sum of $29,000,000.00, pursuant

to 18 U.S.C. § 982(a)(7), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853(p).

      IT IS FURTHER ORDERED that the United States District Court shall

retain jurisdiction in the case for the purpose of enforcing this Order.
                                         -1-
        Case 2:14-cr-00027-DLC Document 178 Filed 04/12/18 Page 2 of 2




      IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)( 4), this Order of

Forfeiture shall be made part of the sentence, having been entered orally during the

sentencing hearing on April 13, 2018.

      DATED this    t2 i£.tday of April, 2018.




                                                 Dana L. Christensen, Chief Judge
                                                 United States District Court




                                         -2-
